 

 

CERTIFICATE OF GOOD STANDING

UNITED STATES OF AMERICA
1 SS.

WESTERN DISTRICT OF TENNESSEE

I, THOMAS M. GOULD, Clerk of the United States for the Western District of

Tennessee, Western Division,

DO HEREBY CERTIFY that Matthew W. Beato was duly admitted to practice in
said Court on July 8, 2015 and is in good standing as a member of the bar of said Court. There
is no disciplinary committee at the Western District of Tennessee therefore, the attorney
has no disciplinary history with the court. Further, I am unaware of any disciplinary matters

involving this attorney in this jurisdiction or elsewhere.

Dated at Memphis, Tennessee THOMAS M. GOULD
Clerk of Court
February 17, 2021.

s/ Judy Easley

Deputy Clerk

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